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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 KEISHA MULFORT,

       Plaintiff,

 v.                                    CASE NO.: 6:24-cv-1118-JSS-EJK

 STATE OF FLORIDA –
 OFFICE OF THE STATE
 ATTORNEY FOR THE
 NINTH JUDICIAL CIRCUIT,
 and ANDREW A. BAIN,
 in his official capacity
 as State Attorney,

       Defendants.

 _____________________/

                             JOINT STIPULATION

       The parties stipulate as follows:

       1) Plaintiff dismisses her FMLA claims with prejudice;
       2) Defendants withdraw their Motion for Partial Summary Judgment; and
       3) The parties agree that there will be no further proceedings on FMLA
          claims or the filing of them.


 Dated: March 10, 2025


 By: /s/ Steven G. Wenzel                    By: /s/ Robert E. Gregg
 LUIS A. CABASSA                             JAMES UTHMEIER (FBN 113156)
 Florida Bar Number: 0053643                 Attorney General
 STEVEN G. WENZEL                            ROBERT E. GREGG (FBN 577431)
 Florida Bar Number: 159055                  Employment Law Manager
 HANNAH E. HORR                              Glen A. Bassett (FBN 0615676)
 Florida Bar Number: 116011                  Special Counsel
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 Wenzel Fenton Cabassa, P.A.                    Office of the Attorney General
 1110 N. Florida Avenue, Suite 300              General Civil North
 Tampa, Florida 33602                           The Capitol, PL-01
 Main No.: 813-224-0431                         Tallahassee, FL 32399-1050
 Direct No.: 813-379-2565                       Office: (850) 414-3300
 Facsimile No.: 813-229-8712                    Robert.Gregg@myfloridalegal.com
 Email: lcabassa@wfclaw.com                     Attorneys for Defendants
 Email: gdesane@wfclaw.com
 Attorneys for Plaintiff




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of March 2025, the foregoing

 was electronically filed with the Clerk of Court via the CM/ECF system, which will

 send a notice of electronic filing to all counsel of record.



                                         /s/ Steven G. Wenzel
                                         STEVEN G. WENZEL
